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                    United States District Court
                         District of Maine
In Re:                       )
                             )
COURT OPERATIONS UNDER       )
THE EXIGENT CIRCUMSTANCES )
CREATED BY THE COVID-19      )      GENERAL ORDER 2021-02
CORONAVIRUS & RELATED        )      (Video and Teleconferencing)
PANDEMIC PRECAUTIONS         )      (Amended, June 8, 2021)

                               GENERAL ORDER

       This General Order is issued in response to the outbreak of Coronavirus
Disease 2019 (COVID-19) in accordance with the Pandemic/Infectious Disease Plan
for the United States District Court for the District of Maine (March 2020). This
General Order reauthorizes the use of videoconferencing and telephone conferencing.
The Court hereby adopts and incorporates the findings made in the Court’s previous
General Orders as to the threat to public health and safety presented by the COVID-
19 pandemic.

      The national emergency declared in March 2020 regarding the COVID-19
pandemic remains in effect. See Continuation of the National Emergency Concerning
the Coronavirus Disease 2019 (COVID-19) Pandemic, 86 Fed. Reg. 11599 (Feb. 24,
2021). In accordance with Section 15002(b)(3)(A) of the Coronavirus Aid, Relief, and
Economic Security Act, Pub. L. No. 116-136, 134 Stat. 281 (2020), I have again
reviewed the need for the continued use of videoconferencing or telephone
conferencing, if videoconferencing is not reasonably available, as originally
authorized by General Order 2020-4 (Mar. 31, 2020) and subsequently reauthorized
by General Order 2020-10 (June 30, 2020) and General Order 2020-14 (Sept. 18, 2020;
amended Dec. 14, 2020). I find that the use of videoconferencing or telephone
conferencing, if videoconferencing is not reasonably available, continues to be
necessary to protect public health and safety.

      Accordingly, I hereby reauthorize the use of videoconferencing and telephone
conferencing, if videoconferencing is not reasonably available, through September 6,
2021.

      Effectiveness; Termination: This Amended General Order takes effect at
11:59 p.m. on June 8, 2021, and shall remain in effect until 11:59 p.m. on September
6, 2021.
SO ORDERED.
                                                  /s/ Jon D. Levy
Dated: June 8, 2021                          CHIEF U.S. DISTRICT JUDGE
                                         1
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Note Regarding June 8, 2021, Amendment:

General Order 2021-02, originally entered on March 12, 2021, is amended effective
June 8, 2021, to reauthorize the continued use of videoconferencing and telephone
conferencing, if videoconferencing is not reasonably available, through September 6,
2021.




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